UNITED STATES DISTRICT COURT SOUTHERN DISTRICT OF CALIFORNIA

Robert EMERT, ——
Plaintiff, FI LE ld
v. SEP 23 2024
Andrea SCHUCK, et ai., CLERK, U.S. DISTRIGT COURT
SOUTHERN DISTRICT OF CALIFORNIA
Defendants. BY. — DEPUTY

Case No.: 24-cv-0002-AGS-AHG

NOTICE OF APPEAL

Notice is hereby given that Robert Emert, plaintiff in the above-named case, hereby
appeals to the United States Court of Appeals for the Ninth Circuit from the order

dismissing the complaint without leave to amend entered in this action on August 21,
2024.

This notice is being filed within the time allowed by Federal Rute of Appellate Procedure
4(a)(1){A). The order being appeaied was entered on August 21, 2024. Using the postmark
date of August 22, 2024, and accounting for the additional three days allowed for service

by mail under Federal Rute of Civil Procedure 6({d), the last day to file this appeal is
September 23, 2024.

Appellant intends to appeal all aspects of the order dismissing the complaint without leave
to amend, including but not limited to:

1. The dismissal of claims against all defendants;
2. The denial of leave to amend the complaint;

3. Any other rulings incorporated into or merged with the final order of dismissal.

Dated: 09/23/24
Respectfully submitted,
Robert Emert, Plaintiff Pro Se

2351 Vista Lago Terrace, Escondido, CA 92029
760-612-9328
robemert@msn.com

PROOF OF ELECTRONIC SERVICE

|, Robert Emert, declare:

jama citizen of the United States and a resident of the State of California. My address is
2351 Vista Lago Terrace, Escondide, CA 92029. | am over the age of 18.

On 09/23/24, | served the foregoing NOTICE OF APPEAL on the interested parties in this
action by electronic service to:

Austin Uhler

austin.uhier@sdcounty.ca.gov

i declare under penalty of perjury under the laws of the United States of America that the
foregoing is true and correct.

Executed on 09/23/24, at Escondido, California.

Robert Emert

robemert@msn.com
